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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA


                                     CIVIL MINUTES – GENERAL

 Case No.    SA CV19-00782 JAK (FFMx)                                        Date     September 4, 2019
 Title       Michael Hernandez, et al. v. Hyundai Motor America, Inc., et al.




 Present: The Honorable           JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                  Andrea Keifer                                           Not Reported
                  Deputy Clerk                                     Court Reporter / Recorder
          Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                    Not Present                                            Not Present


 Proceedings:            (IN CHAMBERS) ORDER TRANSFERRING CASE TO MDL NO. 2905


The Court orders this case to be transferred to MDL No. 2905: In Re: ZF-TRW Airbag Control Units
Products Liability Litigation. Counsel shall refrain from filing any further pleadings or documents in this
case as of the date of this Order. All documents shall be filed in MDL No. 2905. Counsel shall refer to the
docket of MDL. No. 2905 to obtain the Order with respect to how all documents are to be filed.

The Clerk is directed to transfer the names of all parties and their respective counsel to MDL No. 2905.


IT IS SO ORDERED.




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                                                          Initials of Preparer   ak




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